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                         UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


  IRMA JOHNSON,

    Plaintiff,                                   CASE NO.:

  -VS-


  FCI LENDER SERVICES,INC.,

     Defendant.
                                     /


                                   COMPLAINT
                     AND DEMAND FOR TRIAL BY JURY


         Plaintiff, IRMA JOHNSON ("Ms. Johnson" or "Plaintiff) alleges violation

 of the Federal Fair Debt Collection Practices Act, 15 U.S.C. §1692, et. seq.

 ("FDCPA") and Florida's Consumer Collections Practices Act, Florida Statutes,

 §559, Part VI, et. seq.("FCCPA"), against Defendant, FCI LENDER SERVICES,

 INC.("Defendant").

                                 INTRODUCTION


         1.      The FDCPA was enacted as an amendment to the Consumer Credit

 Protection Act. Its purpose is to "eliminate abusive debt collection practices by debt

 collectors." Debt collectors are prohibited from threatening or harassing debtors,

 and their contacts with debtors are restricted. 15 U.S.C. §1692(e).
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       2.      The FCCPA was devised as a means of regulating the activities of

 consumer collection agencies within the state ofFlorida to combat a series of abuses

 in the area of debtor-creditor relations and to assist consumers experiencing debt

 harassment or abusive debt collection practices.

                          JURISDICTION AND VENUE


         3.    Jurisdiction and venue for purposes of this action are appropriate and

 conferred by 28 U.S.C. §1331 and pursuant to 15 U.S.C. §1692k(d), and pursuant

 to 28 U.S.C. §1367 for pendent state law claims.

        4.     The alleged violations described herein occurred in Hillsborough

 County, Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C.

 §1391(b)(2), as it is the judicial district in which a substantial part of the events or

 omissions giving rise to this action occurred.

                            FACTUAL ALLEGATIONS


        5.     Plaintiff is a natural person, and citizen and resident of Hillsborough

 County, Florida.

        6.     Defendant, FCI Lender Services, Inc. ("Defendant") is a debt

 collection company providing its services throughout the State ofFlorida, including

 Hillsborough County, Florida.

        7.     All references to the Defendant named herein shall also include any of

 Defendant's predecessors.
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       8.     Defendant services and/or acquired a debt for which Plaintiff was the

 debtor, namely the loan on Plaintiffs homestead property (the "Alleged Debt").

       9.     On or about December 11, 2018, Defendant sent Plaintiff a Pay-Off

 Response (the "Pay-Off Response"). A true and correct copy of the Pay-Off

 Response is attached hereto as Exhibit "A" and its contents are incorporated by

 reference herein.


        10.   The Pay-Off Response demands the payment of a total lump sum

 amount with no detailed breakdown or itemization of any particular charges in

 violation of Florida and federal law.


        11.   The Pay-Off Response demands payment for "unpaid loan charges or

 advances" and "prior servicer corp. advance fees" with no itemization or description

 of what said charges may be for. Upon information and belief"prior servicer corp.

 advance fees" include attorney's fees and/or costs and attomey's fees and costs that

 are not entitled to be collected by the underlying mortgage and mortgage note. Such

 fees and/or costs may include attorney's fees and costs prior foreclosure action

 against Plaintiff in which was the prevailing party.

        12.    The Pay-Off Response is misleading because it gives a false

 impression of the character ofthe Alleged Debt.
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         13.   The Pay-Off Response hides the true character of the Alleged Debt

 and impairs Plaintiffs ability to knowledgeably assess the validity of the Alleged

 Debt.


         14.   The Pay-Off Response is misleading on its face.

         15.   All conditions precedents to this action have been fulfilled, waived or

 performed.

                                       COUNT I
                              (Violation of the FDCPA)

         16.   Ms. Johnson incorporates Paragraphs one (1) through fifteen (15)

 above as if fully set forth herein.

         17.   This is an action against Defendant for violations of the Federal Fair

 Debt Collection Practices Act 15 U.S.C. §1692, et. seq.(FDCPA),and for damages

 in excess of$15,000.00, exclusive of interest, court costs and attorneys' fees.

         18.   At all times material hereto:(a) Ms. Johnson is a 'consumer' within

 the meaning of the FDCPA;(b)the Alleged Debt is a 'debt' within the meaning of

 the FDCPA; and (c) Defendant is a 'debt collector' within the meaning of the

 FDCPA.


         19.   Defendant knowingly engaged in consumer debt collection activities

 against Ms. Johnson in regards to amounts allegedly owed pursuant to a consumer

 debt within the meaning ofthe FDCPA (the "Debt Collection Conduct").
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       20.     The Debt Collection Conduct includes Defendant's demand for

 payment pursuant to the Pay-Off Response which is misleading because it gives a

 false impression ofthe character of the Alleged Debt.

       21.     The Debt Collection Conduct includes Defendant's demand for


 payment pursuant to the Pay-Off Response in the form of a total lump sum amount

 without any detailed breakdown or itemization ofany particular charges in violation

 of Florida and federal law.


       22.     The Debt Collection Conduct includes Defendant's demand for


 payment pursuant to the Pay-Off Response which hides the true character of the

 Alleged Debt and impairs Ms. Johnson's ability to knowledgeably assess the

 validity ofthe Alleged Debt.

       23.     The Pay-Off Response demands payment for "unpaid loan charges or

 advances" and "prior servicer corp. advance fees" with no itemization or description

 of what said charges may be for. Upon information and belief"prior servicer corp.

 advance fees" include attorney's fees and/or costs and attomey's fees and costs that

 are not entitled to be collected by the underlying mortgage and mortgage note. Such

 fees and/or costs may include attorney's fees and costs prior foreclosure action

 against Plaintiff in which was the prevailing party.

         24.    Defendant's Debt Collection Conduct as described herein is a
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 violation of the following provisions: 15 U.S.C. §1692(e) and 15 U.S.C.

 §1692(e)(2), which provide:

           §1692(e)A debt collector may not use anyfalse, deceptive, or misleading
           representation or means in connection with the collection ofany debt.
           Without limiting the general application ofthe foregoing, the following
           conduct is a violation ofthis section:

              (2) Thefalse representation of—

              (10) The use ofanyfalse representation or deceptive means to collect
              or attempt to collect any debt or to obtain information concerning
               a consumer.



        25.    Defendant's Debt Collection Conduct as described in this Count is a


 violation of 15 U.S.C. §1692(f) and (f)(1) which provide in pertinent part that

 "[a]debt collector may not use unfair or unconscionable means to collect or attempt

 to collect any debt. Without limiting the general application ofthe foregoing, the

 following conduct is a violation ofthis section:

               (1) The collection ofany amount(including any interest,fee, charge,
                  or expense incidental to the principal obligation) unless such
                  amount is expressly authorized by the agreement creating
                   the debt or permitted by law.


        26.    As a result of the Debt Collection Conduct and Defendant's violation

 ofthe FDCPA as described herein, Ms. Johnson has been injured.

        27.    Ms. Johnson is (a) is entitled to collect her attorney's fees and costs

 pursuant to 15 U.S.C. §1692(k);(b)has retained the law firm of Stamatakis + Thalji

 + Bonanno in this action; and (c) is obligated to pay the law firm of Stamatakis +
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 Thalji + Bonanno a reasonable fee for its services in bringing or defending in this

 case, as well as all costs of collections.


        WHEREFORE, Plaintiff, Ms. Johnson, respectfully requests relief in the

 form of: (i) actual damages, interest, court costs and attorney's fees; (ii) statutory

 damages in the minimum amount of$1,000.00 per violation;(iii) a trial by jury; and

 (iv) such other and further relief in law or equity that the Court deems just an

 appropriate under the circumstances.

                                       COUNT II
                               (Violation of the FCC?A)

        28.     Ms. Johnson incorporates paragraphs one (1) through fifteen (15)

 above as if fully set forth herein.


        29.     This is an action against Defendant for violations of Florida's

 Consumer Collections Practices Act, Florida Statutes, §559, Part VI, et. seq.

 (FCCPA), and for damages in excess of $15,000.00, exclusive of interest, court

 costs and attorneys' fees.


        30.     At all times material hereto: (a) Ms. Johnson is a 'debtor' or

 'consumer' within the meaning ofthe FCCPA;(b)the sued-upon debt is a 'debt' or

 'consumer debt' within the meaning ofthe FCCPA; and (c)Defendant is a 'person'

 within the meaning ofthe FCCPA.
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           31.   The Alleged Debt is a "consumer debt," as defined by Florida

 Statutes, §559.55(1), in that some or all of the debt is an obligation allegedly

 incurred by Ms. Johnson for personal, family or household purposes, namely her

 homestead.


           32.   Defendant is engaged in the business ofsoliciting consumers for debts

 and collecting consumer debts and is, therefore, subject to Florida Statutes, §559.55

 et seq.


           33.   Defendant knowingly engaged in consumer debt collection activities

 against Ms. Johnson in regards to amounts allegedly owed pursuant to a consumer

 debt within the meaning of the FCCPA (the "Debt Collection Conduct").

           34.   The Debt Collection Conduct includes Defendant's demand for

 payment pursuant to the Pay-Off Response which is misleading because it gives a

 false impression ofthe character ofthe Alleged Debt.

           35.   The Pay-Off Response demands payment for "unpaid loan charges or

 advances" and "prior servicer corp. advance fees" with no itemization or description

 of what said charges may be for. Upon information and belief"prior servicer corp.

 advance fees" include attorney's fees and/or costs and attorney's fees and costs that

 are not entitled to be collected by the underlying mortgage and mortgage note. Such

 fees and/or costs may include attorney's fees and costs prior foreclosure action

 against Plaintiff in which was the prevailing party.
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       36.    The Debt Collection Conduct includes Defendant's demand for

 payment pursuant to the Pay-Off Response which hides the true character of the

 Alleged Debt and impairs Ms. Johnson's ability to knowledgeably assess the

 validity of the Alleged Debt.

       37.    Defendant knowingly sent the Pay-Off Response in an attempt to

 collect monies from Ms. Johnson that was clearly misleading on its face.

       38.    The Pay-Off Response constitutes "communication" as defined by

 Florida Statutes, §559.55(5).

        39.    Defendant's Debt Collection Conduct as described in this Count is a

 violation of Florida Statutes, §559.72(9) which makes it unlawful to "[c]/a/>w,

 attempt, or threaten to enforce a debt when such person knows that the debt is not

 legitimate or assert the existence ofsome other legal right when such person knows

 that the right does not exist."

        40.    Defendant's business practices and actions were either intentional or

 grossly negligent.

        41.    As a result ofthe Debt Collection Conduct and Defendant's violation

 of the FCCPA, Ms. Johnson has been damaged, and Defendant is liable to Ms.

 Johnson for actual damages and statutory damages pursuant to Florida Statutes,

 §559.77.
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         42.    Ms. Johnson is (a) is entitled to collect her attorney's fees and costs

  pursuant to the Florida Statutes, §559.77(2); (b) has retained the law firm of

  Stamatakis + Thalji + Bonanno in this action; and (c) is obligated to pay the law

  firm of Stamatakis + Thalji + Bonanno a reasonable fee for its services in bringing

  or defending in this case, as well as all costs of collections.

         43.    All conditions precedent to this action have occurred, have been

  satisfied, or have been waived.

         WHEREFORE, Plaintiff, Ms. Johnson, respectfully requests relief in the

  form of: (i) actual damages, interest, court costs and attorney's fees pursuant to

  Florida Statutes, § 559.77(2); (ii) statutory damages in the minimum amount of

  $1,000.00 per violation; (iii) a trial by jury; and (iv) such other and further relief

  that this Court deems just and proper under the circumstances.

                            DEMAND FOR JURY TRIAL


         Plaintiff requests a trial by jury on all issues so triable.



                                       Respectfully submitted,

                                       STAMATAKIS + THALJI + BONANNO


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